Case 3:18-md-02843-VC Document 22-1 Filed 06/21/18 Page 1 of 3




          EXHIBIT A
        Case 3:18-md-02843-VC Document 22-1 Filed 06/21/18 Page 2 of 3



                                         Robert F. Ruyak
                                        RuyakCherian LLP
                                     1700 K St., N.W. Suite 810
                                      Washington, D.C. 20006
                                            202-838-1561
                                     robertr@ruyakcherian.com

Practices: Class Actions, Patent & Intellectual Property Litigation, Consumer Protection and
Antitrust Litigation, Complex Commercial Litigation, Government Investigations, Trade Secrets

Education: Georgetown University, JD; Gannon University, BA
       Mr. Ruyak is one of the nation’s most experienced and respected litigation and trial
lawyers. For over four decades he has been lead counsel and first-chair trial counsel in dozens of
complex high value/high risk cases, matters and trials. After clerking for Judge John J. Sirica, U.S.
District Court for the District of Columbia, between 1974 and 1976, he practiced with litigation
powerhouse firms Howrey LLP and Winston & Strawn, LLP before founding RuyakCherian,
LLP with partner Sunny Cherian in 2015.
        Mr. Ruyak has also made substantial contributions to the profession over his career. These
include innovations in the areas of law school curriculum and experiential learning; young attorney
training, skills development and career management; law practice management; continuing legal
education; and trial techniques, including trial strategy, use of experts, cross-examination, and the
use of presentation technologies. He is a founder and has served as a board member of the
Catholic Charities Pro Bono Legal Network for 25 years, which he chaired for two years. These
contributions have been recognized by, among others, Georgetown University Law Center, The
John Carroll Society, and several publications. The American Lawyer recognized him as an
innovator with a cover article in 2008 (“Think Different – Howrey reengineers its associate training
and pay. Not it’s competency –not longevity – that counts.” – “The Revolutionaries” – American
Lawyer (2008)). He received the Legal Times’ “Visionary” award for two consecutive years, 2008
and 2009, and was featured in Chief Legal Executive magazine in 2004. He co-authored a book
about associate training and development entitled Constructing Core Competencies, which was
published by the American Bar Association. Since 2008, he has served on the Board of the
International Institute for Conflict Prevention and Resolution (CPR) and currently as Chairman of
its International Committee.
                                    Representative Experience
Representative MDLs

In re Disposable Contact Lens Antitrust Litigation (MDL Dkt. No. 1030, U.S. District Court, Middle
District of Florida, Jacksonville Division) - Antitrust Jury Trial (2001). Represented Johnson &
Johnson in class actions and parens patria cases brought by 28 state attorneys general offices
alleging claims of antitrust price-fixing and refusals to deal in the sales of prescription contact
lenses.

In re Lower Lake Erie Iron Ore Antitrust Litigation (E. D. Penn. 1989) - Multidistrict Antitrust
Jury Trial (1989). Represented plaintiffs Jones & Laughlin Steel Corp., and Republic Steel
Corp., against the major northeastern railroads alleging antitrust claims of group boycott and
monopolization of docks on Lake Erie used for the transshipment of raw iron ore used in
         Case 3:18-md-02843-VC Document 22-1 Filed 06/21/18 Page 3 of 3



 the manufacture of steel in Ohio and Pennsylvania. Obtained jury verdict and damages of
 more than $600 million.

In re Fine Paper Antitrust Litigation (E.D. Penn 1983) - Represented Mead Corporation in
MDL involving allegations of price-fixing conspiracy in the fine paper manufacturing
industry.

In re Corrugated Container Antitrust Litigation (S. D. Texas 1979) - Multidistrict Antitrust Jury Trial.
Represented defendant Mead Corporation in a nationwide class action jury trial resulting from
the multidistrict consolidation of several class actions alleging price fixing of corrugated
containers.

In re Folding Carton Antitrust Litigation – (N.D. Ill. 1979)- Represented Mead Corporation in
MDL involving more than fifty civil antitrust suits for price-fixing in the folding carton industry.

Representative Technology Cases

Apple Corporation – represented Apple in numerous patent and technology disputes including trade
secret theft of QuickTime technology by Microsoft.

GSI Technology, Inc. v. United Memories, Inc. and Integrated Silicon Solution, Inc. (U.S. District Court,
N.D. California) – Jury Trial (2015) - Represented defendant, United Memories, Inc. against
allegations of breach of a DRAM design Agreement and misappropriation of trade secrets.

Wang Laboratories Data Storage Cases - Represented plaintiff Wang Laboratories in multiple
cases in various federal courts and before the International Trade Commission involving
claims of patent infringement over data storage and retrieval technology.

Representative Class Action Experience

Deloach v. Philip Morris (and similar cases against other tobacco companies) - Class action by tobacco
farmers against tobacco companies and leaf distributors for price-fixing at tobacco auctions.
Final class settlement was approximately $2 billion.

Garcia v. Johanns (Hispanic Farmers cases) - Represented class of Hispanic farmers alleging
discrimination by the U.S. Department of Agriculture (“USDA”) in the administration of
federally-funded loan and benefit programs for American farmers. Even though class
certification was denied, I helped negotiate the creation of a $1.3 billion fund for Hispanic and
woman farmers and USDA created a claims resolution process to pay the farmers and ranchers
involved.

Representative Stored Communications Act Experience

Cable & Wireless USA – National Outside Litigation Counsel - Handled all litigation for
telecommunications company that operated world’s largest internet backbone. Representation
included hundreds of matters involving Stored Communications Act.
